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                               EXHIBIT 1
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                   FLORIDA
                STANDARD JURY
               INSTRUCTIONS IN
                CONTRACT AND
                BUSINESS CASES

                       The Florida Supreme Court
                  Committee on Standard Jury Instructions
                     in Contract and Business Cases


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              504.4 DAMAGES FOR COMPLETE DESTRUCTION OF BUSINESS

         If (claimant) proved that (defendant) completely destroyed (claimant’s) business, then
     you must award (claimant) damages based upon the market value of (claimant’s) business
     on the date (claimant’s) business was destroyed.

                                       NOTE ON USE FOR 504.4

         The court should give this instruction when the claimant seeks damages for the complete
     destruction of a business. If a business has not been completely destroyed, then damages
     based upon the market value of the business are not appropriate, and the court should not give
     this instruction. Instead, the court should give instruction 504.3 regarding lost profits.

                             SOURCES AND AUTHORITIES FOR 504.4

         1. “If a business is completely destroyed, the proper total measure of damages is the
     market value of the business on the date of the loss. If the business is not completely
     destroyed, then it may recover lost profits. A business may not recover both lost profits and
     the market value of the business.” Montage Grp., Ltd. v. Athle-Tech Computer Systems, Inc.,
     889 So.2d 180, 193 (Fla. 2d DCA 2004) (citations omitted).

        2. “Market value,” as used in this instruction, is not meant to suggest a particular
     approach to determining market value. See, e.g., Fidelity Warranty Servs., Inc. v. Firstate Ins.
     Holdings, Inc., 74 So.3d 506, 514 n.5 (Fla. 4th DCA 2011) (discussing various approaches).

         3. “Courts in other jurisdictions have generally rejected the notion that ‘fair value’ is
     synonymous with ‘fair market value.’” Boettcher v. IMC Mortg. Co., 871 So.2d 1047, 1052
     (Fla. 2d DCA 2004). “The rationale underlying this language is the recognition that the events
     that trigger the valuation process may either disrupt or preclude the market for the shares, if in
     fact such a market ever existed – as in the case of a closely held corporation.” Id. (citation
     omitted).




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